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              9      WHATSAPP INC. and FACEBOOK, INC.

            10
                                                    UNITED STATES DISTRICT COURT
            11
                                                NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123-JSC
            14       and FACEBOOK, INC., a Delaware
                     corporation,                                   WHATSAPP INC.’S CORPORATE
            15                                                      DISCLOSURE STATEMENT

            16                        Plaintiffs,

            17              v.

            18       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            19
                                      Defendants.
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  COOLEY LLP                                                                     CORPORATE DISCLOSURE STATEMENT
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                1                      CASE NO. 3:19-CV-07123-JSC
                           Case 4:19-cv-07123-PJH Document 5 Filed 10/29/19 Page 2 of 2



              1                                 RULE 7.1 DISCLOSURE STATEMENT

              2            Under Federal Rule of Civil Procedure 7.1, Plaintiff WhatsApp Inc. states:

              3            1.     Facebook, Inc. is the parent corporation of WhatsApp.

              4            2.     No publicly held corporation owns 10 percent or more of Facebook’s stock.

              5
                     Dated: October 29, 2019                    Respectively submitted,
              6
                                                                COOLEY LLP
              7
              8
                                                                 /s/ Travis LeBlanc
              9                                                  Travis LeBlanc
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                                                                 WHATSAPP INC. and FACEBOOK, INC.
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ATTO RNEY S AT LAW
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                                                                   2                        CASE NO. 3:19-CV-07123-JSC
